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     LINDSAY ANNE WESTON
 1   Attorney State Bar NO. 73132
     P.O. Box 74310
 2   Davis, California 95617
     (530) 756-7774
 3

 4

 5                          UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF CALIFORNIA
 6

 7

 8
     UNITED STATES OF AMERICA
 9                                                    ) Case No.: CR S-08-090- EJG
              Plaintiff,                              ) STIPULATION AND
10                                                    )
            vs.                                       ) ORDER
11                                                    ) CONTINUING DATE FOR SELF
     LUCIANO PORCAYO, et. al.,                        )
12                                                    ) SURRENDER TO SERVE
                    Defendants.                       ) SENTENCE
13                                                    )
14

15
                                            Stipulation
16
            The government and the defendant, Luciano Porcayo, through undersigned counsel,
17
     stipulate and request that the date set for Mr. Porcayo to surrender to the institution designated
18
     by the Bureau of Prisons to serve his sentence be extended from July 1, 2011, before 2:00 p.m. to
19
     July 22, 2011, before 2:00 p.m. and if no such institution has been designated, to the United
20
     States Marshal for this district before 2:00 p.m. on July 22, 2011.
21
            This Court sentenced Mr. Porcayo on May 20, 2011, to serve a term of imprisonment of
22
     32 months and set a self surrender date to the designated institution of July 1, 2011. The
23
     Judgment and Commitment Order was signed on June 6, 2011, and entered on June 7, 2011. As
24
     of yesterday afternoon, June 27, 2011, the United States Marshal represented that Mr. Porcayo
25
     has not yet been designated to an institution by the BOP. The basis for this request, which is
26
     made by the defense, is to allow the Bureau of Prisons sufficient time to designate an institution
27
     so that Mr. Porcayo may self surrender to serve his sentence. According to the pre-sentence
28




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              Case 2:08-cr-00090-WBS Document 215 Filed 06/30/11 Page 2 of 4




 1   report and U.S. Pre-trial Services, the defendant was on pre-trial release from July 2008, to the
 2   date of sentence and was in compliance with all terms of release.
 3
     DATED: June 28, 2011                                  Respectfully submitted,
 4                                                         /s/ Lindsay Anne Weston
                                                           _______________________________
 5
                                                           LINDSAY ANNE WESTON
 6                                                         Counsel to Luciano Porcayo
 7

 8                                                         BENJAMIN B. WAGNER
                                                           United States Attorney
 9

10
                                                           /s/ Lindsay Weston for Samantha Spangler
                                                           [per e-mail authorization]
11                                                         __________________________________
                                                           SAMANTHA S. SPANGLER
12
                                                           Assistant U.S. Attorney
13

14                                         ORDER
15
            GOOD CAUSE APPEARING, IT IS SO ORDERED.
16
     DATED: June 29, 2011
17

18

19                                                         /s/ Edward J. Garcia
                                                           EDWARD J. GARCIA, Judge
20
                                                           United States District Court
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              Case 2:08-cr-00090-WBS Document 215 Filed 06/30/11 Page 3 of 4




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 9                                                    ) Case No.: CR S-08-090- EJG
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                                                           LINDSAY ANNE WESTON
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                                                           /s/ Lindsay Weston for Samantha Spangler
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                                                           SAMANTHA S. SPANGLER
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                                                           Assistant U.S. Attorney
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19                                                         /s/ Edward J. Garcia
                                                           EDWARD J. GARCIA, Judge
20
                                                           United States District Court
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